          Case 1:21-cr-00091-RCL Document 123 Filed 04/12/23 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

  UNITED STATES OF AMERICA
                                                             Case No. 1:21-cr-91-RCL-1,
  v.
                                                                  1:21-cr-91-RCL-2
  CRAIG MICHAEL BINGERT and
  ISAAC STEVE STURGEON,

         Defendants.


                                              ORDER

        On February 28, 2023, defendant Isaac Steve Sturgeon filed an Unopposed Motion [114]

to Continue the trial date set for May 15, 2023, primarily so that Sturgeon's counsel could travel

to a close friend's wedding, to which she was invited after the trial date was set. At the March 23,

2023 status conference, the Court denied that motion but stated that it would adjust the sitting dates

for the trial in order to accommodate Sturgeon's counsel's travel schedule. See Minute Entry (Mar.

23, 2023). On March 29, 2023, Sturgeon filed a further Motion [120] to Continue, citing the same

travel concerns and adding that refraining from sitting a day would impose a burden on Sturgeon

and his co-defendant, Craig Michael Bingert, who might then have to remain in Washington over

the weekend.

       The Court appreciates the importance to Sturgeon's counsel of attending the wedding and,

as stated at the March 23 status conference, is willing to accommodate her travel schedule.

However, the Court's trial calendar is so full that there simply are no openings long enough to

conduct this trial until several months after the currently scheduled date. Accordingly, the only

way the Court can reasonably make such an accommodation is by refraining from sitting on Friday,

May 19. The Court understands that that may cause the trial to run over into the following week

and thus may require Sturgeon and Bingert to extend their stay in Washington. But the Court



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         Case 1:21-cr-00091-RCL Document 123 Filed 04/12/23 Page 2 of 2




concludes that it would impose an even greater burden on the defendants to delay by several

months the resolution of felony charges against them that have now been pending for over two

years. Moreover, the Court notes that after its decision to sever Sturgeon's and Bingert's trial from

that of their former co-defendant, Taylor James Johnatakis, their trial may now take less time to

complete than previously expected.

       For these reasons, it is hereby ORDERED that Sturgeon's motion to continue the May 15,

2023 trial date is DENIED. However, the Court will not sit for this trial on Friday, May 19, so that

Sturgeon's counsel may travel to her friend ' s wedding. If the trial has not concluded by the end of

the day on Thursday, May 18, it will resume on Monday, May 22.

       IT IS SO ORDERED.



Date: April ~    ' 2023
                                                                   Royce C. Lamberth
                                                                   United States District Judge




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